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 6                         UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF WASHINGTON
 7                                     AT SEATTLE

 8
   CYBER INFORMATION TECHNOLOGY
 9 (CYIT),                                                CASE NO. 2:20-cv-00875-RSL

10                    Plaintiff,                          ORDER GRANTING UNITED STATES
                                                          AIR FORCE’S MOTION TO DISMISS
11                    v.

     UNITED STATES AIR FORCE
12
     (36th Contracting Squadron [FA5240])
13
                      Defendant.
14
           The Court, having reviewed the pleadings and materials in this case, it is hereby
15
     ORDERED that the defendant’s unopposed Motion to Dismiss is GRANTED.
16

17
           Dated this 19th day of October, 2020.
18

19
                                                 ROBERT S. LASNIK
20                                               UNITED STATES DISTRICT JUDGE

21

22



     ORDER GRANTING U.S. AIR FORCE’S                                         UNITED STATES ATTORNEY
                                                                            700 STEWART STREET, SUITE 5220
     MOTION TO DISMISS
                                                                              SEATTLE, WASHINGTON 98101
     (2:20-cv-00875-RSL) - 1                                                        (206) 553-7970
